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                         UNITED STATES DISTRICT COURT
                        EASTERN DISTRICT OF CALIFORNIA


                                    MEMORANDUM



Honorable Troy L. Nunley                      RE: Glen Patrick Shoults
United States District Judge                      Docket Numbers: 2:13CR00033-01 &
Sacramento, California                            2:13CR00168-01
                                                  Notification to the Court

Your Honor:

On August 1, 2013, Mr. Shoults was sentenced for the offense of 18 USC 1028A(a)(1) –
Aggravated Identity Theft (Class E Felony) in Docket Numbers 2:13CR00033-01 and
2:13CR00168-01. He received 24 months custody on each case, to run consecutively to each
other for a total term of 48 months, and a 12-month term of supervised release on each case, to
run concurrently to each other, for a total term of 12 months. On November 10, 2015, a
Probation 12B was filed with the Court wherein Your Honor approved the modification of
Mr. Shoults’ conditions to include residential community corrections (RCC) placement for up to
120 days to allow the offender additional time to secure a residence. On November 13, 2015, he
was released from custody to reside at the RRC, Geo Care, in San Francisco. The Northern
District of California accepted courtesy supervision of the offender’s case in April 2016.


On June 2, 2016, Mr. Shoults was arrested by San Francisco Police Officers for two outstanding
warrants. The undersigned has since been able to verify with the Sacramento County Probation
Department that Mr. Shoults is charged with probation violations in two cases (CR11-0040 and
2F08280). It appears the conduct alleged in their violation petition pre-dates Mr. Shoults’ terms
of Supervised Release and is therefore not a violation of his terms of Supervised Release.
Mr. Shoults remains in custody pending the outcome of the violation proceedings.


The purpose of this Memorandum is to notify the Court Mr. Shoults’ term of supervised release
will be tolled pursuant to 18 USC 3624(e) - a term of Supervised Release does not run during
any period in which the person is imprisoned in connection with a conviction for a Federal, State,
or Local crime unless the imprisonment is for a period of less than 30 consecutive days. Since



                                                                                       REV. 03/2014
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Mr. Shoults has now been in custody for over 30 consecutive days, this is to inform the Court
that time will be tolled accordingly.


If Your Honor has any questions or concerns regarding the information provided in this
Memorandum, please feel free to contact the undersigned via phone at (209) 549-2817 or by
email at laura_weigel@caep.uscourts.gov.

                                        Respectfully submitted,

                                            /s/ Laura Weigel

                                            Laura Weigel
                                 Sr. United States Probation Officer

Dated:     August 12, 2016
           Modesto, California
           LW/lr


 REVIEWED BY:

                                             for _ _________________________________
                         Brenda Barron-Harrell
                         Supervising United States Probation Officer

                                    ORDER OF THE COURT

X Approved                     ☐    Disapproved


Dated: August 15, 2016

                                                         Troy L. Nunley
                                                         United States District Judge
cc:      Michelle Rodriguez
         Assistant United States Attorney

         Donald P. Dorfman
         Defense Counsel

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                                                                                     REV. 03/2014
                                                                                MEMO_COURT.DOTX
